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 1
                            UNITED STATES DISTRICT COURT
 2
                                     DISTRICT OF NEVADA
 3
      CESAR E. ROMERO-MANZO,                           Case No. 3:22-cv-00475-ART-CLB
 4
                                     Petitioner,                    ORDER
 5          v.
 6    TIMOTHY GARRETT,
 7                              Respondents.
 8
            Pro se Petitioner Cesar E. Romero-Manzo filed a Petition for Writ of Habeas
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     Corpus under 28 U.S.C. § 2241 (ECF No. 1-1), but he did not properly commence
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     this habeas action by either paying the standard $5.00 filing fee or filing an
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     application for leave to proceed in forma pauperis (“IFP”). On October 28, 2022,
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     this Court gave Petitioner 45 days to either pay the $5 filing fee or submit a
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     complete IFP application with all required documentation. (ECF No. 3.) This Court
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     also gave Petitioner 45 days to file an amended petition on the § 2254 form
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     because he is in custody pursuant to a state-court judgment of conviction. (Id.)
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     Petitioner timely filed an amended petition on the correct form (ECF No. 6), and
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     he also timely filed an IFP application (ECF No. 4). However, his IFP application
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     is   incomplete.   Petitioner   only   included      his   financial   declaration   and
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     acknowledgement. (See ECF No. 4.) Petitioner did not include (a) a financial
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     certificate signed by him and an authorized prison official, or (b) a copy of his
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     account statement for the six-month period prior to filing. Petitioner will have 45
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     days from the date of this order to either file these missing documents to complete
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     his IFP application or pay the $5 filing fee.
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            It is therefore ordered that within 45 days of the date of this order,
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     Petitioner must file (a) a financial certificate signed by Petitioner and an
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     authorized prison official and (b) a copy of Petitioner’s inmate account statement
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     for the six-month period prior to filing. Alternatively, Petitioner may pay the $5
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 1   filing fee within 45 days. If Petitioner decides to pay the filing fee from his inmate

 2   account, he must arrange to have a copy of this order attached to the check for

 3   the filing fee.

 4          It is further ordered that Petitioner’s failure to timely comply with this

 5   Order will result in the dismissal of this action without prejudice and without

 6   further advance notice.

 7          It is further ordered that the Clerk of Court send Petitioner two copies of

 8   this order and one blank copy of the IFP application form for inmates along with

 9   instructions.

10          It is further ordered that the initial screening of Petitioner’s Amended

11   Petition for Writ of Habeas Corpus (ECF No. 6) under the Rules Governing Section

12   2254 Cases is deferred to until such time as he has fully complied with this order.

13          DATED THIS 2nd day of December 2022.

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16                                          ANNE R. TRAUM
                                            UNITED STATES DISTRICT JUDGE
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